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    14   League, NFL Enterprises LLC, and the
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    15

    16                                UNITED STATES DISTRICT COURT
    17                             CENTRAL DISTRICT OF CALIFORNIA
    18
           IN RE: NATIONAL FOOTBALL                    Case No. 2:15-ml-02668−PSG (SKx)
    19     LEAGUE’S “SUNDAY TICKET”
           ANTITRUST LITIGATION                        JOINT STIPULATION TO
    20     ______________________________              RESCHEDULE FINAL PRETRIAL
    21                                                 HEARING
           THIS DOCUMENT RELATES TO:
    22     ALL ACTIONS                                 Judge: Hon. Philip S. Gutierrez
    23                                                 Date: February 9, 2024
                                                       Time: 2:30 p.m.
    24                                                 Courtroom: First Street Courthouse
    25                                                            350 West 1st Street
                                                                  Courtroom 6A
    26                                                            Los Angeles, CA 90012
    27

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          Case No. 2:15-ml-02668-PSG (SKx)           Joint Stipulation to Reschedule Final Pretrial Conference
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     1           The Pretrial Conference in this matter is currently scheduled for Friday,
     2   February 9, 2024. In-house counsel for the NFL Defendants would like to attend the
     3   Pretrial Conference, but have immovable obligations associated with the Super
     4   Bowl (occurring two days later, on February 11, 2024) that prevent them from
     5   attending the hearing as currently scheduled. The NFL Defendants therefore
     6   respectfully request that the Court reschedule the Pretrial Conference to February 7,
     7   2024 to permit in-house counsel for the NFL Defendants to attend. Plaintiffs agree
     8   with the request to reschedule. The parties further stipulate that all pretrial deadlines
     9   based on the date of the Pretrial Conference should remain based on the February 9,
    10   2024 date for the conference, but both sides reserve the right to suggest alterations
    11   to such deadlines subject to Court approval.
    12

    13

    14   IT IS SO STIPULATED.
    15   Dated: December 6, 2023              Respectfully submitted.
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     1 All signatories listed, and on whose behalf the filing is submitted, concur in the
     2 filing’s content and have authorized the filing.

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          Case No. 2:15-ml-02668-PSG (SKx)            Joint Stipulation to Reschedule Final Pretrial Conference
